                 Case 1:22-cv-02004-JSR Document 4 Filed 03/10/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x

In the Matter of the Arbitration
                                                                     __ CV ____ (___)
                    -between-

COMPAÑÍA ESPAÑOLA DE PETRÓLEOS, S.A.,

                                            Petitioner,

                    -and-

CHIMBUSCO PAN NATION PETRO-CHEMICAL
CO. LTD.,

                                            Respondent.

-----------------------------------------------------------------x


                    DECLARATION OF JAMES D. KLEINER IN SUPPORT OF
                          PETITION TO COMPEL ARBITRATION

            1.      I am a partner in the law firm of Hill, Betts & Nash LLP, attorneys for petitioner,

COMPAÑÍA ESPAÑOLA DE PETRÓLEOS, S.A., in this action. I am admitted to practice in

the courts of this State and in this Court.

            2.      I am familiar with the facts herein based upon my participation as counsel. I make

this declaration in support of the accompanying Petition to Compel Arbitration.

            3.      Annexed hereto are true and accurate copies of Exhibits 1-6 in Support of the

Petition:

                    Exhibit 1.     Email chain dated December 14, 2021, confirming the parties’

                                   bunker sale Contract for supply of marine fuel to M/V LEDRA

                    Exhibit 2.     Petitioner CEPSA’s General Terms and Conditions (Revision 1.2

                                   2019 Amendments) incorporated into the Contract



{NY244326.3 }
                 Case 1:22-cv-02004-JSR Document 4 Filed 03/10/22 Page 2 of 2




                    Exhibit 3.     Email dated February 17, 2022, on behalf of petitioner demanding

                                   New York arbitration

                    Exhibit 4.     Email dated March 3, 2022, from Clyde & Co, Hong Kong,

                                   requesting 21-day extension for respondent to nominate second

                                   arbitrator

                    Exhibit 5.     Email dated March 4, 2022, from Hill, Betts & Nash LLP,

                                   requesting respondent’s acknowledgement of the obligation to

                                   arbitrate

                    Exhibit 6.     Email dated March 8, 2022, from Clyde & Co, Hong Kong,

                                   nominating second arbitrator, with expanded reservation of

                                   respondent’s rights “including but not limited to the rights to

                                   challenge [petitioner’s] purported commencement of the arbitration

                                   and/or the jurisdiction of the Tribunal.”

            4.      I have reviewed the Petition and I believe the contents thereof to be true to the

best of my knowledge.


            I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

Dated: New York, New York
       March 10, 2022



                                                   /s/ James D. Kleiner
                                                   JAMES D. KLEINER




{NY244326.3 }                                         2
